955 F.2d 40
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph N. BRIGGS, Plaintiff-Appellant,v.MARYLAND AUTOMOBILE INSURANCE FUND;  Gebco InsuranceAssociation, Defendants-Appellees.
    No. 91-2293.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 17, 1992.Decided Feb. 10, 1992.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   Joseph C. Howard, District Judge.  (CA-91-2992-JH).
      Joseph N. Briggs, appellant pro se.
      D.Md.
      AFFIRMED.
      Before WIDENER, PHILLIPS and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      Joseph N. Briggs appeals from the district court's order dismissing his diversity action under 28 U.S.C. § 1915(d).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Briggs v. Maryland Auto.  Ins. Fund, No. CA-91-2992-JH (D.Md. Nov. 15, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    